                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE


  UNITED STATES OF AMERICA

  v.                                                    Case No.: 1:17−cr−00079−HSM−SKL

  JEREMY L WOODS


                                  ORDER OF DETENTION PENDING TRIAL

       Defendant Jeremy L Woods appeared for a detention hearing before the undersigned on May 25, 2017.
  Defendant was advised of the right to a detention hearing. Upon being duly sworn, and with advice of
  counsel, defendant waived the right to a detention hearing with the understanding that a hearing will be
  granted at a later date on motion of defendant. Pending further hearings in this matter, defendant shall be held
  in custody by the United States Marshal and produced for future hearings.




  ENTER.


                                                     s/Susan K Lee
                                                     UNITED STATES MAGISTRATE JUDGE




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